             Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 1 of 56


                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,
CALIFORNIA, COLORADO,
CONNECTICUT, DELAWARE, DISTRICT
OF COLUMBIA, FLORIDA, GEORGIA,   Civil Action No. 15-cv-6264
HAWAII, ILLINOIS, INDIANA, IOWA,                                                             Susan Burke 4/2/2017 9:08 PM
                                                                                             Deleted: o.
LOUISIANA, MARYLAND,             JURY DEMAND
MASSACHUSETTS, MICHIGAN,
MINNESOTA, MONTANA, NEVADA, NEW FILED UNDER SEAL
JERSEY, NEW MEXICO, NEW YORK,
NORTH CAROLINA, OKLAHOMA,
RHODE ISLAND, TENNESSEE, TEXAS,
VIRGINIA, WISCONSIN

ex rel. Cathleen Forney
1441 Drake Lane
Lancaster, PA 17601

                   Plaintiffs


v. MEDTRONIC, INC.
710 Medtronic Pkwy NE
Minneapolis, MN 55432


                  Defendant.


                                FIRST AMENDED COMPLAINT

       1.                                 Defendant Medtronic Inc. (“Medtronic”)

manufactures and sells medical devices, including medical devices used during heart

surgeries and procedures, such as pacemakers, defibrillators, stents and catheters. In

order to increase its sales, Medtronic paid kickbacks to physicians and hospitals. These

kickbacks were paid by providing free surgical, device follow up (interrogation analysis),

and other staffing services, which physicians and hospitals used in lieu of having to pay
                                                                                             Susan Burke 4/2/2017 1:41 PM
                                                                                             Deleted:
for their own employees. (Hereinafter, this Complaint uses the term “staffing
              Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 2 of 56


kickbacks” to describe this dynamic.) By paying these staffing kickbacks, Medtronic violated the

Medicare and Medicaid anti-kickback laws, 42 U.S.C. 1320a-7b(b) et seq. and Section 1877 of

the Social Security Act (referred to as the “Stark law”).

       2.      The payment of Medtronic staffing kickbacks caused physicians and hospitals to

submit false claims to Medicare and Medicaid, which require providers to certify compliance

with the anti-kickback laws and regulations as a condition precedent to payment. In addition, as

it implemented its staffing kickback scheme, Medtronic violated the Health Insurance Portability

and Accountability Act of 1996 (“HIPAA”) by using non-secure Internet services to transmit

private health care information about patients and their heart conditions.

       3.      Relator Cathleen Forney brings this action under the False Claims Act (“FCA”),

31 U.S.C. § 3729 et seq. and the False Claims Acts of California, Colorado, Connecticut,

Delaware, District of Columbia, Florida, Georgia, Hawaii, Illinois, Indiana, Iowa, Louisiana,

Maryland, Massachusetts, Michigan, Minnesota, Montana, Nevada, New Jersey, New Mexico,

New York, North Carolina, Oklahoma, Rhode Island, Tennessee, Texas, Virginia and Wisconsin.

(These States are hereinafter referred to as “Plaintiff States.”)


                                                 PARTIES

       4.      Relator Cathleen Forney resides at 1441 Drake Lane, Lancaster, PA 17601.

Beginning in April 1996, she joined Medtronic and rose through the professional ranks, reaching

the executive position of District Service Manager. Medtronic terminated her in 2012 in

retaliation for her refusal to acquiesce in Medtronic’s knowing and persistent violations of

HIPAA.

       5.      Relator Forney has direct and independent knowledge of Medtronic’s staffing

kickbacks and HIPAA violations. She acquired this first-hand knowledge of Medtronic’s
                                            2

	
              Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 3 of 56


wrongdoing through a career of employment related to cardiac care, including

employment with Medtronic.

       6.      Relator Forney brings this action under the qui tam provision of the

federal and state False Claims Acts. Relator Forney shared all information with the

United States and Plaintiff States prior to filing suit under seal. Relator Forney complied

with all the statutory requirements placed on qui tam relators.

       7.      Plaintiff United States relies on the federal False Claims Act (hereinafter

“FCA”), which prohibits persons from making false claims and false statements to obtain

reimbursement from federally-funding health care insurance programs.

       8.      The Plaintiff States rely on state-specific statutes modeled on the federal

FCA. The State False Claims Act apply, inter alia, to the state portion of Medicaid losses

caused by false Medicaid claims to the jointly federal-state funded Medicaid program.

The Plaintiff States’ FCAs each contain qui tam provisions permitting a knowledgeable

relator to participate in the State’s recovery. The Plaintiff States include California,

Colorado, Connecticut, Delaware, D.C., Florida, Georgia, Hawaii, Illinois, Indiana, Iowa,

Louisiana, Maryland, Massachusetts, Michigan, Minnesota, Montana, New York, North

Carolina, Oklahoma, Rhode Island, Tennessee, Texas, Virginia and Wisconsin, all of

whom fund health insurance programs.

       9.      Defendant Medtronic is a publicly-traded medical device company operating in

this State and around the globe. Medtronic corporate headquarters were located in

Minneapolis, Minnesota, and are now located in Dublin, Ireland.. Medtronic was founded in

1949, and currently operates in 140 countries. According to its website, Medtronic employs

approximately 40,000 people in its global workface. Medtronic’s sales in the United States

                                                  3

	
             Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 4 of 56


generated between 8.8 to 9.2 billion dollars per year.


                                    JURISDICTION AND VENUE

       10.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 and 31

U.S.C. § 3732 (a) and (b).

       11.     Venue is proper in this jurisdiction pursuant to 31 U.S.C. § 3732(a) and (b).


                                         FACTUAL ALLEGATIONS

       12.     Relator Forney served as District Manager for the Cardio and Vascular Group in

Eastern Pennsylvania District. At the direction of her management, she directly participated in

certain of the events described in this lawsuit. Among other things, she oversaw the scheduling

of the staffing services by her subordinates.

       13.     Medtronic Cardio Vascular Group manufactures and distributes medical devices
                                                                                                     Susan Burke 4/2/2017 1:51 PM
                                                                                                     Deleted: districts
used by cardiologists, including pacemakers, defibrillators, stents and catheters.

       14.      Medtronic engages in a nationwide marketing to promote the purchase of its

devices. According to Medtronic’s filings with the Security and Exchange Commission, sales by

Medtronic’s Cardio and Vascular Group net sales reached $9.361 billion (out of overall sales of

$20.261 billion) for fiscal year 2015.

       15.     Within the United States during the time period at issue in this lawsuit, Medtronic

marketed a series of products that need to be implanted into patients during surgical procedures.

The devices requiring surgical implantation include, among others, (a) the Concerto CRT-D, a

cardio resynchorinzation therapy and defibrillator, (b) the Virtuoso DR ICD, an implantable

cardioverter defibrillator, (c) the InSync Sentry CCRT-D, (d) the OptiVol fluid status monitoring




                                                 4

	
             Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 5 of 56


device, (e) the CardioSight and Cardiac Compass cardiac monitory devices, (f) Reveal

insertable loop recorder, and the (g) Sprint-fidelis lead system.

       16.     None of these devices is new to cardiologists, as all have been approved

for marketing by the Federal Food and Drug Administration for at least five years. Yet as

part of marketing the devices, Medtronic touted its willingness to provide free services.

Medtronic required employees to engage in “strategic territory and account planning.”

Medtronic directed that employees gather extensive data about hospital and physician

practices, including their reimbursement rates on devices. And Medtronic directed

employees to create direct relationships with patients as part of its marketing efforts.

These district plans were required to include provision of free services as marketing tools.

This marketing was aimed at physicians, nurse practitioners, practice administrators, and

any others who had any impact on purchasing decisions. Medtronic positioned itself as a

“partner” who “adds most value through differentiating service and support to all

customers.” Medtronic

       17.     Medtronic is well acquainted with the manner in which its customers

billed the federal health care programs. Medtronic spent substantial energy and resources

briefing and updating its customers on how to bill the federal health care programs, and

obtain maximum reimbursement from the federal government. Medtronic offered free

assistance on billing devices to its customers.
                                                                                               Susan Burke 4/2/2017 9:11 PM
                                                                                               Deleted: Examples of these Medtronic briefings
       18.     Medtronic knew that its customers used CMS Form 1500 to submit                  on billings are appended as Exhibit A.

invoices for payment to the federal health care system.
                                                                                               Susan Burke 4/2/2017 9:11 PM
                                                                                               Deleted: An example of the CMS Form 1500 is
       19.     CMS conditioned payment of claims submitted by physicians and                   appended as Exhibit B.

hospitals upon compliance with the anti-kickback and Stark laws. With respect to each

                                                  5

	
             Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 6 of 56


and every claim tainted by Medtronic staffing kickbacks, had CMS known that the physicians

and hospitals were accepting staffing kickbacks from Medtronic, CMS would not have paid any

of the submitted claims.

       20.      CMS Form 1500 requires those seeking payment from the federal government to

certify that they have not engaged in any violations of the federal anti-kickback statue.

Specifically, CMS Form 1500 includes the following certification: “In submitting this claim for

payment from federal funds, I certify that: 1) the information on this form is true, accurate and

complete; … 4) this claim, whether submitted by me or on my behalf by my designated billing

company, complies with all applicable Medicare and/or Medicaid laws, regulations, and program

instructions for payment including but not limited to the federal anti-kickback statute and

Physician Self-Referral law (commonly known as Stark law). . . .”

       21.     Further, the CMS Form 1500 expressly states “NOTICE: This is to certify that

the foregoing information is true, accurate and complete. I understand that payment and

satisfaction of this claim will be from Federal and State funds, and that any false claims,

statements, or documents, or concealment of a material fact, may be prosecuted under applicable

Federal or State laws.”

       22.     AdvaMed, the trade association for the medical device industry, cautions its

members against such kickbacks: “For example, a Company should not provide free services

that would eliminate an overhead or other expense that a Health Care Professional would

otherwise of business prudence or necessity have incurred as part of its business operations. . . . “

See Revised and Restated Code of Ethics, effective July 1, 2009, at Paragraph X.

       23.     Medtronic paid staffing kickbacks in the form of free surgical support, implant

device follow up (interrogation analysis), and other services to an extensive group of physicians

                                                 6

	
             Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 7 of 56


and hospitals across the nation. Medtronic induced physicians and others with purchasing

power to select Medtronic devices – which are off-the-shelf commodities – by offering

free services that benefitted physician practices but increased the costs to the federal and

state government programs. Medtronic provided free services long after the implantation

of the device. Physicians were induced to remain with Medtronic products by these

kickbacks, as the free labor benefitted their bottom line. Medtronic also used these free

services as a mechanism to create direct relationships with patients, and try to create

patient loyalty and demand for Medtronic products.

       24.     To date, Medtronic continues to provide kickbacks in the form of free surgical

support, post-implant device interrogation and analysis, and other services. Medtronic provides

free staff to clinics, where a Medtronic employee will spend 4 to 8 hours conducting

interrogations and other services. Among other indicia of the wrongdoing, Medtronic’s website,

accessed on January 8, 2015, included job postings that reveal Medtronic continues to attempt to

implement this nationwide scheme to procure sales of its products by providing physicians with

free surgical staffing assistance. Medtronic was seeking persons willing to “scrub in” on surgical

procedures and willing to “represent Medtronic during surgeries and implants of products to

provide troubleshooting and other technical assistance.”

       25.     Medtronic caused false claims to be submitted to fiscal intermediaries for

payment. Medtronic’s customers (cardiologists and hospitals) billed Medicare, Medicaid,

and private insurers to obtain payment for the health care provided to the patients

receiving Medtronic devices. Physicians and hospitals receiving staffing kickbacks

presented claims for payment to fiscal intermediaries in all fifty states without disclosing

the receipt of the staffing kickbacks, and instead falsely certifying that they had complied

                                                  7

	
             Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 8 of 56


with the Anti-Kickback laws and regulations. Had the fiscal intermediaries known that those

certifications were false, and that Medtronic had paid kickbacks in the form of free surgical

services as a means to induce purchase of Medtronic devices, the fiscal intermediaries would not

have paid the claims. The following provides examples of Medtronic’s payment of kickbacks in

Pennsylvania, and identifies the provider who Medtronic caused to submit false claims for

reimbursement:

Patient AJ              Dr. Gulotta           Single ICD check        November 9, 2011


Patient DN             Lehigh Valley          Pacer check             November 22, 2011

                       Cardiology

                       Associates


Patient EH             St. Luke’s             Interrogation of        November 16, 2011

                       Allentown              device


Patient MB             Leigh Valley           Interrogation of        November 11, 2011

                       Cardiology             device

                       Associates


Patient RF             Leigh Valley           Pacer check             December 13, 2011

                       Cardiology

                       Associates


Patient JW             Leigh Valley           Device check            December 29, 2011

                       Cardiology



                                                8

	
             Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 9 of 56


                       Associates




       To give a sense of the frequency of the kickbacks, the following are a snapshot of

a few days in Pennsylvania locations, during which Medtronic employees provided free

services (surgical, device follow up interrogation and analysis, and others). This same

pattern of providing free services prevailed across the nation, with Medtronic providing

multiple surgical, interrogation and other staffing kickbacks on a daily basis.
                                                                                            Susan Burke 4/2/2017 2:00 PM
                                                                                            Deleted:
       Palmerton

       11/30/2011 6 patients

       12/21/2011 4 patients

       2/08/2012 1 patient

       2/15/2012    4 patients

       2/22/2012 3 patients

       Quakertown

       12/02/2011 11 patients

       1/06/2012 10 patients

       2/03/2012    5 patients

       3/03/2012 4 patients

       Windgap

       12/06/2011 10 patients

       01/03/2012 10 patients




                                                 9

	
             Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 10 of 56


       26.     Medtronic also violated HIPAA by using an unsecured Internet program (called

Google Calendar) to transmit protected and private health information amongst sales

representatives and clinical specialists working in the Eastern Pennsylvania District. This

calendaring system was used by numerous district and divisions across the United States during

the time period when Medtronic was downsizing support administrative staff and eliminating

district offices. Medtronic eventually trained its field organization to track scheduled cases with

SalesForce software, which requires Medtronic staff support. Thus, the Google Calendar and

SalesForce records demonstrate Medtronic’s nationwide and continuous payment of surgical

staffing kickbacks.

       27.     Medtronic knew that it was violating HIPAA by disseminating patient data over

unsecured programs such as Google Calendar. Medtronic’s 2013 10 K filed with the Securities

and Exchange Commission includes the following admission: “Medtronic only operates as a

Business Associate to Covered Entities in a limited number of instances. In those cases, the

patient data that we receive and analyze may include protected health information. We are

committed to maintaining the security and privacy of patients’ health information and believe

that we meet the expectations of the HIPAA rules. Some modifications to our systems and

policies may be necessary, but the framework is already in place. However, the potential for

enforcement action against us is now greater, as HHS can take action directly against Business

Associates. Thus, while we believe we are and will be in substantial compliance with HIPAA

standards, there is no guarantee that the government will not disagree. Enforcement actions can

be costly and interrupt regular operations of our business. Nonetheless, these requirements affect

a limited subset of our business. We believe the ongoing costs and impacts of assuring



                                                 10

	
              Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 11 of 56


compliance with the HIPAA privacy and security rules are not material to our business.”

(Emphasis added.)


                             COUNT ONE – FALSE CLAIMS

        28.     Relator alleges and incorporates by reference the foregoing paragraphs as

if fully set forth herein.

        29.     This is a claim for treble damages and forfeitures under the FCA, 31

U.S.C. §§ 3729-32, and for all available damages and forfeitures available under the

FCA.

        30.     The Relator has satisfied and/or will satisfy all requirements set forth in

the federal FCA, 31 U.S.C. § 3730(a)(2), including filing this action under seal and

serving on the United States government a copy of this Complaint and a written

disclosure of related material evidence and information.

        31.     Medtronic knowingly and intentionally caused false and fraudulent claims

to be presented to the United States and the Plaintiff States.

        32.     Had the United States and the Plaintiff States known that Medtronic was

paying kickbacks in the form of free surgical staff services, it would not have relied upon

the false certifications and made the payments to the Kickback Recipients.

        33.     As a result of Medtronic’s conduct causing false claims to be submitted,

the United States and the Plaintiff States have paid millions of dollars in false claims as a

result of Medtronic’s kickback schemes, which persist to date.

        .




                                                 11

	
              Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 12 of 56


                COUNT TWO - VIOLATIONS OF THE CALIFORNIA FCA
                            Cal. Gov’t Code § 12651(a)
        34.     Relator alleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        35.     The California FCA, Cal. Gov’t Code § 12651(a), specifically provides, in part:

        (a)     Any person who commits any of the following enumerated acts in this subdivision
                shall have violated this article and shall be liable to the state or to the political
                subdivision for three times the amount of damages that the state or political
                subdivision sustains because of the act of that person. A person who commits any
                of the following enumerated acts shall also be liable to the state or to the political
                subdivision for the costs of a civil action brought to recover any of those penalties
                or damages, and shall be liable to the state or political subdivision for a civil
                penalty of not less than five thousand dollars ($5,000) and not more than ten
                thousand dollars ($10,000) for each violation:

                (1)    Knowingly presents or causes to be presented a false or fraudulent claim
                       for payment or approval.

                (2)    Knowingly makes, uses, or causes to be made or used a false record or
                       statement material to a false or fraudulent claim.

                (3)    Conspires to commit a violation of this subdivision.

                (4)    Has possession, custody, or control of public property or money used or to
                       be used by the state or by any political subdivision and knowingly delivers
                       or causes to be delivered less than all of that property.

                (5)    Is authorized to make or deliver a document certifying receipt of property
                       used or to be used by the state or by any political subdivision and
                       knowingly makes or delivers a receipt that falsely represents the property
                       used or to be used.

                (6)    Knowingly buys, or receives as a pledge of an obligation or debt, public
                       property from any person who lawfully may not sell or pledge the
                       property.

                (7)    Knowingly makes, uses, or causes to be made or used a false record or
                       statement material to an obligation to pay or transmit money or property to
                       the state or to any political subdivision, or knowingly conceals, or

                                                 12

	
              Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 13 of 56


                         knowingly and improperly avoids, or decreases an obligation to pay or
                         transmit money or property to the state or to any political subdivision.

                 (8)     Is a beneficiary of an inadvertent submission of a false claim subsequently
                         discovers the falsity of the claim, and fails to disclose the false claim to
                         the state or the political subdivision within a reasonable time after
                         discovery of the false claim.

       36.       Defendant knowingly presented or caused to be presented to the California

Medicaid program false or fraudulent records or statements and false or fraudulent claims

for payment and approval, claims which failed to disclose material violations of law,

and/or concealed their actions and to avoid or decrease an obligation to pay or transmit

money to the state, and conspired with others to do so, all in violation of California

Government Code § 12651(a).

       37.       The State of California paid said claims and has sustained damages, to the

extent of its portion of Medicaid losses from Medicaid claims filed in California, because

of these acts by Defendant.

        COUNT THREE- VIOLATIONS OF THE COLORADO MEDICAID FCA
                         Col. Rev. Stat. § 25.5-4-305


       38.       Relator alleges and incorporates by reference the foregoing paragraphs as if fully

             set forth herein.

       39.       The Colorado Medicaid FCA, Col. Rev. Stat. § 25.5-4-305, provides and attaches

             liability to any person who:

       (a)       Knowingly presents, or causes to be presented, to an officer or employee of the
                 state a false or fraudulent claim for payment or approval;

       (b)       Knowingly makes, uses, or causes to be made or used a false record or statement
                 material to a false or fraudulent claim;


                                                  13

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 14 of 56


    (c)      Has possession, custody, or control of property or money used, or to be used, by
             the state in connection with the “Colorado Medical Assistance Act” and
             knowingly delivers, or causes to be delivered, less than all of the money or
             property;

    (d)      Authorizes the making or delivery of a document certifying receipt of property
             used, or to be used, by the state in connection with the “Colorado Medical
             Assistance Act” and, intending to defraud the state, makes or delivers the receipt
             without completely knowing that the information on the receipt is true;

    (e)      Knowingly buys, or receives as a pledge of an obligation or debt, public property
             from an officer or employee of the state in connection with the “Colorado
             Medical Assistance Act” who lawfully may not sell or pledge the property;

    (f)      Knowingly makes, uses, or causes to be made or used, a false record or statement
             material to an obligation to pay or transmit money or property to the state in
             connection with the “Colorado Medical Assistance Act”, or knowingly conceals
             or knowingly and improperly avoids or decreases an obligation to pay or transmit
             money or property to the state in connection with the “Colorado Medical
             Assistance Act”;

    (g)      Conspires to commit a violation of paragraphs (a) to (f) of this subsection (1).

    40.      Defendant knowingly presented or caused to be presented to the Colorado

          Medicaid program false or fraudulent records or statements and false or fraudulent

          claims for payment and approval, claims which failed to disclose material violations

          of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

          transmit money to the state, and conspired with others to do so, all in violation of the

          Colorado FCA.

    41.      The State of Colorado paid said claims and has sustained damages, to the extent

          of its portion of Medicaid losses from Medicaid claims filed in Colorado, because of

          these acts by Defendant.



                                               14

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 15 of 56


            COUNT FOUR - VIOLATIONS OF THE CONNECTICUT FCA
                  FOR MEDICAL ASSISTANCE PROGRAMS
                          Conn. Gen. Stat. § 17b-301b


    42.       Relator alleges and incorporates by reference the foregoing paragraphs as if fully

          set forth herein.

    43.       The Connecticut FCA for Medical Assistance Programs, Conn. Gen. Stat. § 17b-

          301b, recodified and expanded at Conn. Gen. Stat. § 4-274 et seq., provides, in part:

    (a)       no person shall:

              (1)     Knowingly present, or cause to be presented, to an officer or employee of
                      the state a false or fraudulent claim for payment or approval under a
                      medical assistance program administered by the Department of Social
                      Services;

              (2)     Knowingly make, use or cause to be made or used, a false record or
                      statement to secure the payment or approval by the state of a false or
                      fraudulent claim under a medical assistance program administered by the
                      Department of Social Services;

              (3)     Conspire to defraud the state by securing the allowance or payment of a
                      false or fraudulent claim under a medical assistance program administered
                      by the Department of Social Services;

              (4)     Having possession, custody or control of property or money used, or to be
                      used, by the state relative to a medical assistance program administered by
                      the Department of Social Services, and intending to defraud the state or
                      willfully to conceal the property, deliver or cause to be delivered less
                      property than the amount for which the person receives a certificate or
                      receipt;

              (5)     Being authorized to make or deliver a document certifying receipt of
                      property used, or to be used, by the state relative to a medical assistance
                      program administered by the Department of Social Services and intending
                      to defraud the state, make or deliver such document without completely
                      knowing that the information on the document is true;

                                               15

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 16 of 56


              (6)     Knowingly buy, or receive as a pledge of an obligation or debt, public
                      property from an officer or employee of the state relative to a medical
                      assistance program administered by the Department of Social Services,
                      who lawfully may not sell or pledge the property; or

              (7)     Knowingly make, use or cause to be made or used, a false record or
                      statement to conceal, avoid or decrease an obligation to pay or transmit
                      money or property to the state under a medical assistance program
                      administered by the Department of Social Services.

    44.       Defendant knowingly presented or caused to be presented to the Connecticut

          Medicaid program false or fraudulent records or statements and false or fraudulent

          claims for payment and approval, claims which failed to disclose material violations

          of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

          transmit money to the state, and conspired with others to do so, all in violation of the

          Connecticut FCA.

    45.       The State of Connecticut paid said claims and has sustained damages, to the

          extent of its portion of Medicaid losses from Medicaid claims filed in Connecticut,

          because of these acts by Defendant.

    COUNT FIVE -- VIOLATIONS OF THE DELAWARE FALSE CLAIMS AND
                             REPORTING ACT
                       Del. Code Ann. tit. 6, § 1201(a)

    46.       Relator alleges and incorporates by reference the foregoing paragraphs as if fully

          set forth herein.

    47.       The Delaware False Claims and Reporting Act, Del. Code Ann. tit. 6, § 1201(a),

          specifically provides, in part:

    (a)       Any person who:

              (1)     Knowingly presents, or causes to be presented to an officer or employee of
                      the Government a false or fraudulent claim for payment or approval;
                                                16

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 17 of 56



             (2)     Knowingly makes, uses, or causes to be made or used a false record or
                     statement to get a false or fraudulent claim paid or approved by the
                     Government;

             (3)     Conspires to defraud the Government by getting a false or fraudulent
                     claim allowed or paid;

             (4)     Has possession, custody or control of property or money used or to be
                     used by the Government and, intending to defraud the Government or
                     willfully to conceal the property, delivers or causes to be delivered, less
                     property than the amount for which the person receives a certificate or
                     receipt;

             (5)     Is authorized to make or deliver a document certifying receipt of property
                     used or to be used by the Government and, intending to defraud the
                     Government, makes or delivers the receipt without completely knowing
                     that the information on the receipt is true;

             (6)     Knowingly buys, or receives as a pledge of an obligation or debt, public
                     property from an officer or employee of the Government who may not
                     lawfully sell or pledge the property; or

             (7)     Knowingly makes, uses, or causes to be made or used a false record or
                     statement to conceal, avoid, or decrease an obligation to pay or transmit
                     money or property to the Government shall be liable to the Government
                     for a civil penalty of not less than $ 5,500 and not more than $11,000 for
                     each act constituting a violation of this section, plus 3 times the amount of
                     damages which the Government sustains because of the act of that person.

    48.      Defendant knowingly presented or caused to be presented to the Delaware

          Medicaid program false or fraudulent records or statements and false or fraudulent

          claims for payment and approval, claims which failed to disclose material violations

          of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

          transmit money to the state, and conspired with others to do so, all in violation of

          Delaware Code Title 6, § 1201(a).

    49.      The State of Delaware paid said claims, and has sustained damages, to the extent

          of its portion of Medicaid losses from Medicaid claims filed in Delaware, because of

                                               17

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 18 of 56


          these acts by Defendant.

     COUNT SIX - VIOLATIONS OF THE DISTRICT OF COLUMBIA FCA
                        D.C. Code § 2-308.14(a)

    50.       Relator alleges and incorporates by reference the foregoing paragraphs as if fully

          set forth herein.

    51.       The District of Columbia FCA, D.C. Code § 2-308.14(a), specifically provides, in

          part:

    (a)       Any person who commits any of the following acts shall be liable to the District
              for 3 times the amount of damages which the District sustains because of the act
              of that person. A person who commits any of the following acts shall also be
              liable to the District for the costs of a civil action brought to recover penalties or
              damages, and may be liable to the District for a civil penalty of not less than
              $5,000, and not more than $10,000, for each false claim for which the person:

              (1)     Knowingly presents, or causes to be presented, to an officer or employee
                      of the District a false claim for payment or approval;

              (2)     Knowingly makes, uses, or causes to be made or used, a false record or
                      statement to get a false claim paid or approved by the District;

              (3)     Conspires to defraud the District by getting a false claim allowed or paid
                      by the District;

              (4)     Has possession, custody, or control of public property or money used, or
                      to be used, by the District and knowingly delivers, or causes to be
                      delivered, less property than the amount for which the person receives a
                      certificate or receipt;

              (5)     Is authorized to make or deliver a document certifying receipt of property
                      used, or to be used, by the District and knowingly makes or delivers a
                      document that falsely represents the property used or to be used;

              (6)     Knowingly buys, or receives as a pledge of an obligation or debt, public
                      property from any person who lawfully may not sell or pledge the
                      property;

              (7)     Knowingly makes or uses, or causes to be made or used, a false record or
                      statement to conceal, avoid, or decrease an obligation to pay or transmit
                      money or property to the District;

                                                18

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 19 of 56



              (8)     Is a beneficiary of an inadvertent submission of a false claim to the
                      District, subsequently discovers the falsity of the claim, and fails to
                      disclose the false claim to the District; or

              (9)     Is the beneficiary of an inadvertent payment or overpayment by the
                      District of monies not due and knowingly fails to repay the inadvertent
                      payment or overpayment to the District.

    52.       Defendant knowingly presented or caused to be presented to the District of

          Columbia Medicaid program false or fraudulent records or statements and false or

          fraudulent claims for payment and approval, claims which failed to disclose material

          violations of law, and/or concealed their actions and to avoid or decrease an

          obligation to pay or transmit money to the state, and conspired with others to do so,

          all in violation of D.C. Code § 2-308.14(a).

    53.       The District of Columbia paid said claims and has sustained damages, to the

          extent of its portion of Medicaid losses from Medicaid claims filed in the District of

          Columbia, because of these acts by Defendant.

               COUNT SEVEN - VIOLATIONS OF THE FLORIDA FCA
                              Fla. Stat. § 68.082(2)

    54.       Relator alleges and incorporates by reference the foregoing paragraphs as if fully

          set forth herein.

    55.       The Florida FCA, Fla. Stat. § 68.082(2), specifically provides, in part, that:

    (2)       Any person who:


              (a)     Knowingly presents or causes to be presented to an officer or employee of
                      an agency a false or fraudulent claim for payment or approval;

              (b)     Knowingly makes, uses, or causes to be made or used a false record or
                      statement to get a false or fraudulent claim paid or approved by an agency;

              (c)     Conspires to submit a false or fraudulent claim to an agency or to deceive
                                               19

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 20 of 56


                     an agency for the purpose of getting a false or fraudulent claim allowed or
                     paid;

             (d)     Has possession, custody, or control of property or money used or to be
                     used by an agency and, intending to deceive the agency or knowingly
                     conceal the property, delivers or causes to be delivered less property than
                     the amount for which the person receives a certificate or receipt;

             (e)     Is authorized to make or deliver a document certifying receipt of property
                     used or to be used by an agency and, intending to deceive the agency,
                     makes or delivers the receipt without knowing that the information on the
                     receipt is true;

             (f)     Knowingly buys or receives, as a pledge of an obligation or a debt, public
                     property from an officer or employee of an agency who may not sell or
                     pledge the property lawfully; or

             (g)     Knowingly makes, uses, or causes to be made or used a false record or
                     statement to conceal, avoid, or decrease an obligation to pay or transmit
                     money or property to an agency, is liable to the state for a civil penalty of
                     not less than $5,500 and not more than $11,000 and for treble the amount
                     of damages the agency sustains because of the act or omission of that
                     person.

    56.      Defendant knowingly presented or caused to be presented to the Florida Medicaid

          program false or fraudulent records or statements and false or fraudulent claims for

          payment and approval, claims which failed to disclose material violations of law,

          and/or concealed their actions and to avoid or decrease an obligation to pay or

          transmit money to the state, and conspired with others to do so, all in violation of

          Florida Statute § 68.082(2).

    57.      The State of Florida paid said claims and has sustained damages, to the extent of

          its portion of Medicaid losses from Medicaid claims filed in Florida, because of these

          acts by Defendant.




                                               20

	
             Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 21 of 56


    COUNT EIGHT - VIOLATIONS OF THE GEORGIA STATE FALSE MEDICAID
                             CLAIMS ACT

                                   Ga. Code Ann. § 49-4-168.1
      58.       Relator alleges and incorporates by reference the foregoing paragraphs as if fully

            set forth herein.

      59.       The Georgia State False Medicaid Claims Act, Ga. Code Ann. § 49-4-168.1,

            specifically provides, in part:

      (a)       Any person who:

                (1)     Knowingly presents or causes to be presented to the Georgia Medicaid
                        program a false or fraudulent claim for payment or approval;

                (2)     Knowingly makes, uses, or causes to be made or used, a false record or
                        statement to get a false or fraudulent claim paid or approved by the
                        Georgia Medicaid program;

                (3)     Conspires to defraud the Georgia Medicaid program by getting a false or
                        fraudulent claim allowed or paid;

                (4)     Has possession, custody, or control of property or money used or to be
                        used by the Georgia Medicaid program and, intending to defraud the
                        Georgia Medicaid program or willfully to conceal the property, delivers,
                        or causes to be delivered, less property than the amount for which the
                        person receives a certificate of receipt;

                (5)     Being authorized to make or deliver a document certifying receipt of
                        property used, or to be used, by the Georgia Medicaid program and,
                        intending to defraud the Georgia Medicaid program, makes or delivers the
                        receipt without completely knowing that the information on the receipt is
                        true;

                (6)     Knowingly buys, or receives as a pledge of an obligation or debt, public
                        property from an officer or employee of the Georgia Medicaid program
                        who lawfully may not sell or pledge the property; or

                (7)     Knowingly makes, uses, or causes to be made or used a false record or
                        statement to conceal, avoid, or decrease an obligation to pay, repay, or
                        transmit money or property to the State of Georgia shall be liable to the
                        State of Georgia for a civil penalty of not less than $5,500.00 and not more
                        than $11,000.00 for each false or fraudulent claim, plus three times the
                                                 21

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 22 of 56


                      amount of damages which the Georgia Medicaid program sustains because
                      of the act of such person.

    60.       Defendant knowingly presented or caused to be presented to the Georgia

          Medicaid program false or fraudulent records or statements and false or fraudulent

          claims for payment and approval, claims which failed to disclose material violations

          of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

          transmit money to the state, and conspired with others to do so, all in violation of

          Georgia Code § 49-4-168.1.

    61.       The State of Georgia paid said claims and has sustained damages, to the extent of

          its portion of Medicaid losses from Medicaid claims filed in Georgia, because of

          these acts by Defendant.

                 COUNT NINE - VIOLATIONS OF THE HAWAII FCA
                             Haw. Rev. Stat. § 661-21

    62.       Relator alleges and incorporates by reference the foregoing paragraphs as if fully

          set forth herein.

    63.       The Hawaii FCA, Haw. Rev. Stat. § 661-21(a), specifically provides, in part, that

          any person who:

    (1)       Knowingly presents, or causes to be presented, to an officer or employee of the
              State a false or fraudulent claim for payment or approval;


    (2)       Knowingly makes, uses, or causes to be made or used, a false record or statement
              to get a false or fraudulent claim paid or approved by the State;



    (3)       Conspires to defraud the State by getting a false or fraudulent claim allowed or
              paid;



                                               22

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 23 of 56


    (4)      Has possession, custody, or control of property or money used, or to be used, by
             the State and, intending to defraud the State or willfully to conceal the property,
             delivers, or causes to be delivered, less property than the amount for which the
             person receives a certificate or receipt;



    (5)      Is authorized to make or deliver a document certifying receipt of property used, or
             to be used by the State and, intending to defraud the State, makes or delivers the
             receipt without completely knowing that the information on the receipt is true;



    (6)      Knowingly buys, or receives as a pledge of an obligation or debt, public property
             from any officer or employee of the State who may not lawfully sell or pledge the
             property;



    (7)      Knowingly makes, uses, or causes to be made or used, a false record or statement
             to conceal, avoid, or decrease an obligation to pay or transmit money or property
             to the State; or



    (8)      Is a beneficiary of an inadvertent submission of a false claim to the State, who
             subsequently discovers the falsity of the claim, and fails to disclose the false claim
             to the State within a reasonable time after discovery of the false claim;
             shall be liable to the State for a civil penalty of not less than $5,000 and not more
             than $10,000, plus three times the amount of damages that the State sustains due
             to the act of that person.



    64.      Defendant knowingly presented or caused to be presented to the Hawaii Medicaid

          program false or fraudulent records or statements and false or fraudulent claims for

          payment and approval, claims which failed to disclose material violations of law,

          and/or concealed their actions and to avoid or decrease an obligation to pay or

          transmit money to the state, and conspired with others to do so, all in violation of

          Hawaii Revised Statute § 661-21(a).
                                             23

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 24 of 56


    65.       The State of Hawaii paid said claims and has sustained damages, to the extent of

          its portion of Medicaid losses from Medicaid claims filed in Hawaii, because of these

          acts by Defendant

          COUNT TEN - VIOLATIONS OF THE ILLINOIS FALSE CLAIMS
             WHISTLEBLOWER REWARD AND PROTECTION ACT
                         740 Ill. Comp. Stat. § 175/3(a)

    66.       Relator alleges and incorporates by reference the foregoing paragraphs as if fully

          set forth herein.

    67.       The Illinois False Claims Whistleblower Reward and Protection Act, 740 Ill.

          Comp. Stat. § 175/3(a), specifically provides, in part, that:

    (1)       In general, any person who:


              (A)     knowingly presents, or causes to be presented, a false or fraudulent claim
                      for payment or approval;



              (B)     knowingly makes, uses, or causes to be made or used, a false record or
                      statement material to a false or fraudulent claim;



              (C)     conspires to commit a violation of subparagraph (A), (B), (D), (E), (F), or
                      (G);



              (D)     has possession, custody, or control of property or money used, or to be
                      used, by the State and, knowingly delivers, or causes to be delivered, less
                      than all the money or property;



              (E)     is authorized to make or deliver a document certifying receipt of property
                      used, or to be used, by the State and, intending to defraud the State, makes


                                               24

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 25 of 56


                     or delivers the receipt without completely knowing that the information on
                     the receipt is true;



             (F)     knowingly buys, or receives as a pledge of an obligation or debt, public
                     property from an officer or employee of the State, or a member of the
                     Guard, who lawfully may not sell or pledge property; or



             (G)     knowingly makes, uses, or causes to be made or used, a false record or
                     statement material to an obligation to pay or transmit money or property to
                     the State, or knowingly conceals or knowingly and improperly avoids or
                     decreases an obligation to pay or transmit money or property to the state,
                     is liable to the State for a civil penalty of not less than $5,500 and not
                     more than $11,000, plus 3 times the amount of damages which the State
                     sustains because of the act of that person. The penalties in this Section are
                     intended to be remedial rather than punitive and shall not preclude, nor
                     shall be precluded by, a criminal prosecution for the same conduct.

    68.      Defendant knowingly presented or caused to be presented to the Illinois Medicaid

          program false or fraudulent records or statements and false or fraudulent claims for

          payment and approval, claims which failed to disclose material violations of law,

          and/or concealed their actions and to avoid or decrease an obligation to pay or

          transmit money to the state, and conspired with others to do so, all in violation of 740

          Illinois Compiled Statute § 175/3(a).

    69.      The State of Illinois paid said claims and has sustained damages, to the extent of

          its portion of Medicaid losses from Medicaid claims filed in Illinois, because of these

          acts by Defendant.




                                               25

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 26 of 56


    COUNT ELEVEN - VIOLATIONS OF THE IOWA FALSE CLAIMS ACT
                       Iowa Code § 15-5-685.2

    70.       Relator alleges and incorporates by reference the foregoing paragraphs as if fully

          set forth herein.

    71.        The Iowa False Claims Act, Iowa Code § 15-5-685.2. specifically provides, in

          part, that:

    (2)       In general, any person who:


               (A)      knowingly presents, or causes to be presented, a false or fraudulent claim
                        for payment or approval;

              (B)       knowingly makes, uses, or causes to be made or used, a false record or
                        statement material to a false or fraudulent claim;

              (C)       conspires to commit a violation of subparagraph (A), (B), (D), (E), (F), or
                        (G);

              (D)       has possession, custody, or control of property or money used, or to be
                        used, by the State and, knowingly delivers, or causes to be delivered, less
                        than all the money or property;

              (E)       is authorized to make or deliver a document certifying receipt of property
                        used, or to be used, by the State and, intending to defraud the State, makes
                        or delivers the receipt without completely knowing that the information on
                        the receipt is true;

              (F)       knowingly buys, or receives as a pledge of an obligation or debt, public
                        property from an officer or employee of the State, or a member of the
                        Guard, who lawfully may not sell or pledge property; or

              (G)       knowingly makes, uses, or causes to be made or used, a false record or
                        statement material to an obligation to pay or transmit money or property to
                        the State, or knowingly conceals or knowingly and improperly avoids or
                        decreases an obligation to pay or transmit money or property to the state,
                        is liable to the State for a civil penalty of not less than $5,500 and not
                        more than $10,000, plus 3 times the amount of damages which the State
                        sustains because of the act of that person.

                                                 26

	
              Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 27 of 56


       72.       Defendant knowingly presented or caused to be presented to the Iowa Medicaid

             program false or fraudulent records or statements and false or fraudulent claims for

             payment and approval, claims which failed to disclose material violations of law,

             and/or concealed their actions and to avoid or decrease an obligation to pay or

             transmit money to the state, and conspired with others to do so, all in violation of

             Iowa False Claims Act.

       73.       The State of Iowa paid said claims and has sustained damages, to the extent of its

             portion of Medicaid losses from Medicaid claims filed in Iowa, because of these acts

             by Defendant.

    COUNT TWELVE - VIOLATIONS OF THE STATE OF INDIANA FALSE CLAIMS
                AND WHISTLEBLOWER PROTECTION ACT
                           Ind. Code § 5-5.5-2

       74.       Relator alleges and incorporates by reference the foregoing paragraphs as if fully

             set forth herein.

       75.       The Indiana False Claims and Whistleblower Protection Act, Ind. Code § 5-11-

             5.5-2(b), specifically provides, in part:

       (b)       A person who knowingly or intentionally:

                 (1)     presents a false claim to the state for payment or approval;

                 (2)     makes or uses a false record or statement to obtain payment or approval of
                         a false claim from the state;

                 (3)     with intent to defraud the state, delivers less money or property to the state
                         than the amount recorded on the certificate or receipt the person receives
                         from the state;

                 (4)     with intent to defraud the state, authorizes issuance of a receipt without
                         knowing that the information on the receipt is true;



                                                   27

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 28 of 56


              (5)     receives public property as a pledge of an obligation on a debt from an
                      employee who is not lawfully authorized to sell or pledge the property;



              (6)     makes or uses a false record or statement to avoid an obligation to pay or
                      transmit property to the state;

              (7)     conspires with another person to perform an act described in subdivisions
                      (1) through (6); or

              (8)     causes or induces another person to perform an act described in
                      subdivisions (1) through (6); is, except as provided in subsection (c), liable
                      to the state for a civil penalty of at least five thousand dollars ($5,000) and
                      for up to three (3) times the amount of damages sustained by the state. In
                      addition, a person who violates this section is liable to the state for the
                      costs of a civil action brought to recover a penalty or damages.

    76.       Defendant knowingly presented or caused to be presented to the Indiana Medicaid

          program false or fraudulent records or statements and false or fraudulent claims for

          payment and approval, claims which failed to disclose material violations of law,

          and/or concealed their actions and to avoid or decrease an obligation to pay or

          transmit money to the state, and conspired with others to do so, all in violation of

          Indiana Code § 5-11-5.5-2.

    77.       The State of Indiana paid said claims and has sustained damages, to the extent of

          its portion of Medicaid losses from Medicaid claims filed in Indiana, because of these

          acts by Defendant.

    COUNT THIRTEEN - VIOLATIONS OF THE LOUISIANA FCA/MEDICAL
              ASSISTANCE PROGRAMS INTEGRITY LAW
                      La. Rev. Stat. Ann. § 46:438.3

    78.       Relator alleges and incorporates by reference the foregoing paragraphs as if fully

          set forth herein.

    79.       The Louisiana FCA/Medical Assistance Programs Integrity Law (“Louisiana
                                          28

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 29 of 56


          FCA”), Rev. Stat. Ann. § 46:438.3, specifically provides, in part, that:

    A.       No person shall knowingly present or cause to be presented a false or fraudulent
             claim.
    B.       No person shall knowingly engage in misrepresentation or make, use, or cause to
             be made or used, a false record or statement to obtain payment for a false or
             fraudulent claim from the medical assistance programs’ funds.
    C.       No person shall knowingly make, use, or cause to be made or used, a false record
             or statement to conceal, avoid, or decrease an obligation to pay or transmit money
             or property to the medical assistance programs.

    D.       No person shall conspire to defraud, or attempt to defraud, the medical assistance
             programs through misrepresentation or by obtaining, or attempting to obtain,
             payment for a false or fraudulent claim.

    80.      Louisiana FCA, Rev. Stat. Ann. § 46:438.2A(1), specifically provides that:

    No person shall solicit, receive, offer or pay any remuneration, including but not limited
    to kickbacks, bribes, rebates, or . . . payments, directly or indirectly, overtly or covertly,
    in cash or in kind, for the following: (1) In return for referring an individual to a health
    care provider, . . . for the furnishing or arranging to furnish any good, supply, or service
    for which payment may be made, in whole or in part, under the medical assistance
    programs.

    81.      In addition, the Louisiana FCA, Rev. Stat. Ann. § 46:438.3 provides that:

    No person shall knowingly present or cause to be presented a false or fraudulent claim
    . . . shall knowingly engage in misrepresentation to obtain payment from the medical
    assistance programs’ funds . . . shall conspire to defraud, or attempt to defraud, the
    medical assistance programs . . . .

    82.      Furthermore, the Louisiana FCA, Rev. Stat. Ann. § 46:438.4, provides that:

    No person shall knowingly make, use or cause to be made or used a false, fictitious, or
    misleading statement on any form used for the purpose of certifying or qualifying any
    person for eligibility . . . to receive any good, service, or supply under the medical
    assistance programs which that person is not eligible to receive.

    83.      Defendant knowingly presented or caused to be presented to the Louisiana

          Medicaid program false or fraudulent records or statements and false or fraudulent

          claims for payment and approval, claims which failed to disclose material violations

                                               29

	
            Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 30 of 56


           of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

           transmit money to the state, and conspired with others to do so, all in violation of

           Louisiana Revised Statute § 46:438.3.

     84.       The State of Louisiana paid said claims and has sustained damages, to the extent

           of its portion of Medicaid losses from Medicaid claims filed in Louisiana, because of

           these acts by Defendant.


    COUNT FOURTEEN - VIOLATIONS OF THE MARYLAND FALSE HEALTH
                        CLAIMS ACT OF 2010
                   Md. Code Ann., Health-Gen. § 2-602

     85.       Relator alleges and incorporates by reference the foregoing paragraphs as if fully

           set forth herein.

     86.       The Maryland False Health Claims Act, Md. Code Ann., Health-Gen. § 2-602,

           specifically provides that:

     (A)       A person may not:


               (1)     Knowingly present or cause to be presented a false or fraudulent claim for
                       payment or approval;

               (2)     Knowingly make, use, or cause to be made or used a false record or
                       statement material to a false or fraudulent claim;

               (3)     Conspire to commit a violation under this subtitle;

               (4)     Have possession, custody, or control of money or other property used by
                       or on behalf of the State under a State health plan or a State health
                       program and knowingly deliver or cause to be delivered to the State less
                       than all of that money or other property;

               (5)     (i)     Be authorized to make or deliver a receipt or other document
                               certifying receipt of money or other property used or to be used by
                               the State under a State health plan or a State health program; and
                                                30

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 31 of 56


                      (ii)    Intending to defraud the State or the Department, make or deliver a
                              receipt or document knowing that the information contained in the
                              receipt or document is not true;

              (6)     Knowingly buy or receive as a pledge of an obligation or debt publicly
                      owned property from an officer, employee, or agent of a State health plan
                      or a State health program who lawfully may not sell or pledge the
                      property;

              (7)     Knowingly make, use, or cause to be made or used, a false record or
                      statement material to an obligation to pay or transmit money or other
                      property to the State;

              (8)     Knowingly conceal, or knowingly and improperly avoid or decrease, an
                      obligation to pay or transmit money or other property to the State; or

              (9)     Knowingly make any other false or fraudulent claim against a State health
                      plan or a State health program.

    87.       Defendant knowingly presented or caused to be presented to the Maryland

          Medicaid program false or fraudulent records or statements and false or fraudulent

          claims for payment and approval, claims which failed to disclose material violations

          of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

          transmit money to the state, and conspired with others to do so, all in violation of the

          Maryland False Health Claims Act of 2010.

    88.       The State of Maryland paid said claims and has sustained damages, to the extent

          of its portion of Medicaid losses from Medicaid claims filed in Maryland, because of

          these acts by Defendant.

      COUNT FIFTEEN - VIOLATIONS OF THE MASSACHUSETTS FCA
                      Mass. Gen. Laws ch. 12, § 5B

    89.       Relator alleges and incorporates by reference the foregoing paragraphs as if fully

          set forth herein.
                                               31

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 32 of 56


    90.      The Massachusetts FCA, Mass. Gen. Laws ch. 12, § 5B, specifically provides, in

          part, that any person who:

    (1)      knowingly presents, or causes to be presented, a false or fraudulent claim for
             payment or approval;

    (2)      knowingly makes, uses, or causes to be made or used, a false record or statement
             to obtain payment or approval of a claim by the commonwealth or any political
             subdivision thereof;

    (3)      conspires to defraud the commonwealth or any political subdivision thereof
             through the allowance or payment of a fraudulent claim;

    (4)      has possession, custody, or control of property or money used, or to be used, by
             the commonwealth or any political subdivision thereof and knowingly delivers, or
             causes to be delivered to the commonwealth, less property than the amount for
             which the person receives a certificate or receipt with the intent to willfully
             conceal the property;

    (5)      is authorized to make or deliver a document certifying receipt of property used, or
             to be used, by the commonwealth or any political subdivision thereof and with the
             intent of defrauding the commonwealth or any political subdivision thereof,
             makes or delivers the receipt without completely knowing that the information on
             the receipt is true;

    (6)      buys, or receives as a pledge of an obligation or debt, public property from an
             officer or employee of the commonwealth or any political subdivision thereof,
             knowing that said officer or employee may not lawfully sell or pledge the
             property;

    (7)      enters into an agreement, contract or understanding with one or more officials of
             the commonwealth or any political subdivision thereof knowing the information
             contained therein is false;

    (8)      knowingly makes, uses, or causes to be made or used, a false record or statement
             to conceal, avoid, or decrease an obligation to pay or to transmit money or
             property to the commonwealth or political subdivision thereof; or

    (9)      is a beneficiary of an inadvertent submission of a false claim to the
             commonwealth or political subdivision thereof, subsequently discovers the falsity
             of the claim, and fails to disclose the false claim to the commonwealth or political
             subdivision within a reasonable time after discovery of the false claim shall be
             liable to the commonwealth or political subdivision for a civil penalty of not less
             than $5,000 and not more than $10,000 per violation, plus three times the amount

                                              32

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 33 of 56


              of damages, including consequential damages, that the commonwealth or political
              subdivision sustains because of the act of that person. A person violating sections
              5B to 5O, inclusive, shall also be liable to the commonwealth or any political
              subdivision for the expenses of the civil action brought to recover any such
              penalty or damages, including without limitation reasonable attorney’s fees,
              reasonable expert’s fees and the costs of investigation, as set forth below. . . .

    91.       Defendant knowingly presented or caused to be presented to the Massachusetts

          Medicaid program false or fraudulent records or statements and false or fraudulent

          claims for payment and approval, claims which failed to disclose material violations

          of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

          transmit money to the state, and conspired with others to do so, all in violation of

          Massachusetts General Laws ch. 12, § 5B.

    92.       The Commonwealth of Massachusetts paid said claims and has sustained

          damages, to the extent of its portion of Medicaid losses from Medicaid claims filed in

          Massachusetts, because of these acts by Defendant.


    COUNT SIXTEEN - VIOLATIONS OF THE MICHIGAN MEDICAID FCA
                   Mich. Comp. Laws § 400.601 et seq.

    93.       Relator alleges and incorporates by reference the foregoing paragraphs as if fully

          set forth herein.

    94.       The Michigan Medicaid FCA, Mich. Comp. Laws § 400.603, provides, inter alia,

          that:

    (1)       A person shall not knowingly make or cause to be made a false statement or false
              representation of a material fact in an application for Medicaid benefits.

    (2)       A person shall not knowingly make or cause to be made a false statement or false
              representation of a material fact for use in determining rights to a medicaid
              benefit.


                                               33

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 34 of 56


    (3)       A person, who having knowledge of the occurrence of an event affecting . . . [the]
              initial or continued right of any other person on whose behalf he has applied . . .
              shall not conceal or fail to disclose that event with intent to obtain a benefit to
              which the person or any other person is not entitled or in an amount greater than
              that to which the person or any other person is entitled.



    95.       Section 400.606, states that “[a] person shall not enter into an agreement,

          combination, or conspiracy to defraud the state by obtaining or aiding another to

          obtain the payment or allowance of a false claim . . . .”

    96.       In section 400.607, “[a] person shall not make or present or cause to be made or

          presented to an employee or officer of this state a claim . . . upon or against the state,

          knowing the claim to be false . . . .” And that “[a] person shall not make or present

          or cause to be made or presented a claim . . . that he or she knows falsely represents

          that the goods or services for which the claim is made were medically

          necessary . . . .”

    97.       In section 400.604, a person is prohibited from soliciting, offering, making, or

          receiving a kickback or bribe or rebate of any kind.

    98.       Under section 400.612, “[a] person who receives a benefit that the person is not

          entitled to receive by reason of fraud or making a fraudulent statement or knowingly

          concealing a material fact . . . shall forfeit and pay to the state the full amount

          received, and for each civil penalty of not less than $5,000.00 or more than

          $10,000.00 plus triple the amount of damages suffered by the state as a result of the

          conduct by the person.”

    99.       Defendant knowingly violated these provisions of law by presenting or causing to

          be presented to the Michigan Medicaid program false and/or fraudulent claims for
                                                34

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 35 of 56


          payment and approval, claims which failed to disclose the material violations of the

          law, knowingly made, used, or caused to be made or used a false record or statement

          to support such claims and/or to conceal their actions and to avoid or decrease an

          obligation to pay or transmit money to the state, and they conspired with others to

          defraud the state Medicaid program, all in violation of the Michigan FCA, and

          thereby caused damage to the State of Michigan.

          COUNT SEVENTEEN - VIOLATIONS OF THE MINNESOTA FCA
                         Minn. Stat. § 15C.02(a)
    100.      Relator alleges and incorporates by reference the foregoing paragraphs as if fully

          set forth herein.

    101.      The Minnesota FCA, Minn. Stat. § 15C.02, attaches liability to:

    (a)       A[ny] person who . . . :

              (1)     knowingly presents, or causes to be presented, to an officer or employee of
                      the state or a political subdivision a false or fraudulent claim for payment
                      or approval;

              (2)     knowingly makes or uses, or causes to be made or used, a false record or
                      statement to get a false or fraudulent claim paid or approved by the state or
                      a political subdivision;

              (3)     knowingly conspires to either present a false or fraudulent claim to the
                      state or a political subdivision for payment or approval or makes, uses, or
                      causes to be made or used a false record or statement to obtain payment or
                      approval of a false or fraudulent claim;

              (4)     has possession, custody, or control of public property or money used, or to
                      be used, by the state or a political subdivision and knowingly delivers or
                      causes to be delivered to the state or a political subdivision less money or
                      property than the amount for which the person receives a receipt;




                                               35

	
               Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 36 of 56


                (5)    is authorized to prepare or deliver a receipt for money or property used, or
                       to be used, by the state or a political subdivision and knowingly prepares
                       or delivers a receipt that falsely represents the money or property;

                (6)    knowingly buys, or receives as a pledge of an obligation or debt, public
                       property from an officer or employee of the state or a political subdivision
                       who lawfully may not sell or pledge the property; or

                (7)    knowingly makes or uses, or causes to be made or used, a false record or
                       statement to conceal, avoid, or decrease an obligation to pay or transmit
                       money or property to the state or a political subdivision.

        102.    Defendant knowingly presented or caused to be presented to the Minnesota

            Medicaid program false or fraudulent records or statements and false or fraudulent

            claims for payment and approval, claims which failed to disclose material violations

            of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

            transmit money to the state, and conspired with others to do so, all in violation of the

            Minnesota FCA.

        103.    The State of Minnesota paid said claims and has sustained damages, to the extent

            of its portion of Medicaid losses from Medicaid claims filed in Minnesota, because of

            these acts by Defendant.

    COUNT EIGHTEEN - VIOLATION OF THE MONTANA FALSE CLAIMS ACT
                      Mont. Code Ann. 17-8-401, et seq.

        134.    Relator alleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        135.    This is a claim brought by Plaintiff/Relator and the State of Montana to recover

treble damages, civil penalties and the cost of this action, under the Montana False Claims Act,

for Defendant’ violations of such Act.

        136.    The Montana False Claims Act, at § 17-8-403 attaches liability to any person
                                                 36

	
              Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 37 of 56


who:

               (a) knowingly presents or causes to be presented to an officer or employee of the
               governmental entity a false or fraudulent claim for payment or approval;

               (b) knowingly makes, uses, or causes to be made or used a false record or
               statement to get a false or fraudulent claim paid or approved by the governmental
               entity;


               (c) conspires to defraud the governmental entity by getting a false or fraudulent
               claim allowed or paid by the governmental entity;

               (d) has possession, custody, or control of public property or money used or to be
               used by the governmental entity and, with the intent to defraud the governmental
               entity or to willfully conceal the property, delivers or causes to be delivered less
               property or money than the amount for which the person receives a certificate or
               receipt;

                (e) is authorized to make or deliver a document certifying receipt of property
               used or to be used by the governmental entity and, with the intent to defraud the
               governmental entity or to willfully conceal the property, makes or delivers a
               receipt without knowing that the information on the receipt is true;

               (f) knowingly buys or receives as a pledge of an obligation or debt public property
               of the governmental entity from any person who may not lawfully sell or pledge
               the property;

                (g) knowingly makes, uses, or causes to be made or used a false record or
               statement to conceal, avoid, or decrease an obligation to pay or transmit money or
               property to the governmental entity or its contractors; or

               (h) as a beneficiary of an inadvertent submission of a false or fraudulent claim to
               the governmental entity, subsequently discovers the falsity of the claim or that the
               claim is fraudulent and fails to disclose the false or fraudulent claim to the
               governmental entity within a reasonable time after discovery of the false or
               fraudulent claim.

       137.    Defendant knowingly presented or caused to be presented to the Montana

Medicaid program false or fraudulent records or statements and false or fraudulent claims for

payment and approval, claims which failed to disclose material violations of law, and/or

                                                37

	
              Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 38 of 56


concealed their actions and avoided or decreased an obligation to pay or transmit money to the

state, and conspired to do so, all in violation of Montana Code Annotated. § 17-8-403.

       138.      The State of Montana paid said claims and has sustained damages, to the extent of

its portion of Medicaid losses from Medicaid claims filed in Montana, because of these acts by

the Defendant.

                 COUNT NINETEEN - VIOLATIONS OF THE NEVADA FCA
                             Nev. Rev. Stat. § 357.040(1)

       104.      Relator alleges and incorporates by reference the foregoing paragraphs as if fully

           set forth herein.

       105.      The Nevada FCA, Nev. Rev. Stat. § 357.040(1), specifically provides, in part, that

           a person who:

       with or without specific intent to defraud, does any of the following listed acts is liable to
       the State or a political subdivision, whichever is affected, for three times the amount of
       damages sustained by the State or political subdivision because of the act of that person,
       for the costs of a civil action brought to recover those damages and for a civil penalty of
       not less than $5,000 or more than $10,000 for each act:

                 (a)    Knowingly presents or causes to be presented a false claim for payment or
                        approval.

                 (b)    Knowingly makes or uses, or causes to be made or used, a false record or
                        statement to obtain payment or approval of a false claim.

                 (c)    Conspires to defraud by obtaining allowance or payment of a false claim.

                 (d)    Has possession, custody or control of public property or money and
                        knowingly delivers or causes to be delivered to the State or a political
                        subdivision less money or property than the amount for which the person
                        receives a receipt.

                 (e)    Is authorized to prepare or deliver a receipt for money or property to be
                        used by the State or a political subdivision and knowingly prepares or
                        delivers a receipt that falsely represents the money or property.

                 (f)    Knowingly buys, or receives as security for an obligation, public property

                                                 38

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 39 of 56


                   from a person who is not authorized to sell or pledge the property.

            (g)    Knowingly makes or uses, or causes to be made or used, a false record or
                   statement to conceal, avoid or decrease an obligation to pay or transmit
                   money or property to the State or a political subdivision.

            (h)    Is a beneficiary of an inadvertent submission of a false claim and, after
                   discovering the falsity of the claim, fails to disclose the falsity to the State
                   or political subdivision within a reasonable time.

    106.    Defendant knowingly presented or caused to be presented to the Nevada Medicaid

       program false or fraudulent records or statements and false or fraudulent claims for

       payment and approval, claims which failed to disclose material violations of law,

       and/or concealed their actions and to avoid or decrease an obligation to pay or

       transmit money to the state, and conspired with others to do so, all in violation of

       Nevada Revised Statute § 357.040(1).

    107.    The State of Nevada paid said claims and has sustained damages, to the extent of

       its portion of Medicaid losses from Medicaid claims filed in Nevada, because of these

       acts by Defendant.

           COUNT TWENTY - VIOLATIONS OF THE NEW JERSEY FCA
                        N.J. Stat. Ann. § 2A:32C-1

    108.    Relator alleges and incorporates by reference the foregoing paragraphs as if fully

       set forth herein.

    109.    The New Jersey FCA, N.J. Stat. Ann. § 2A:32C-3, supplementing Title 2A of the

       New Jersey statutes and amending New Jersey Medical Assistance and Health

       Services Act, P.L. 1968, c. 413, N.J. Stat. Ann. § 30:4D-17, provides in part that:

    A person shall be jointly and severally liable to the State for a civil penalty of not less
    than and not more than the civil penalty allowed under the federal FCA (31 U.S.C.
    § 3729 et seq.), as may be adjusted in accordance with the inflation adjustment
    procedures prescribed in the Federal Civil Penalties Inflation Adjustment Act of 1990,
                                              39

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 40 of 56


    Pub. L. 101-410, for each false or fraudulent claim, plus three times the amount of
    damages which the State sustains, if the person commits any of the following acts:

    a.      Knowingly presents or causes to be presented to an employee, officer or agent of
            the State, or to any contractor, grantee, or other recipient of State funds, a false or
            fraudulent claim for payment or approval;

    b.      Knowingly makes, uses, or causes to be made or used a false record or statement
            to get a false or fraudulent claim paid or approved by the State;

    c.      Conspires to defraud the State by getting a false or fraudulent claim allowed or
            paid by the State;

    d.      Has possession, custody, or control of public property or money used or to be
            used by the State and knowingly delivers or causes to be delivered less property
            than the amount for which the person receives a certificate or receipt;

    e.      Is authorized to make or deliver a document certifying receipt of property used or
            to be used by the State and, intending to defraud the entity, makes or delivers a
            receipt without completely knowing that the information on the receipt is true;

    f.      Knowingly buys, or receives as a pledge of an obligation or debt, public property
            from any person who lawfully may not sell or pledge the property; or

    g.      Knowingly makes, uses, or causes to be made or used a false record or statement
            to conceal, avoid, or decrease an obligation to pay or transmit money or property
            to the State.

    110.    Defendant knowingly presented or caused to be presented to the New Jersey

         Medicaid program false or fraudulent records or statements and false or fraudulent

         claims for payment and approval, claims which failed to disclose material violations

         of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

         transmit money to the state, and conspired with others to do so, all in violation of the

         New Jersey FCA.

    111.    The State of New Jersey paid said claims and has sustained damages, to the extent


                                              40

	
            Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 41 of 56


          of its portion of Medicaid losses from Medicaid claims filed in New Jersey, because

          of these acts by Defendant.

    COUNT TWENTY-ONE - VIOLATIONS OF THE NEW MEXICO MEDICAID FCA
                         N.M. Stat. Ann. § 27-14-4

       112. Relator alleges and incorporates by reference the foregoing paragraphs as if fully

          set forth herein.

       113. The New Mexico Medicaid FCA, N.M. Stat. Ann. § 27-14-4, specifically provides,

          in part, that:

       A person commits an unlawful act and shall be liable to the state for three times the
       amount of damages that the state sustains as a result of the act if the person:

              A.      presents, or causes to be presented, to the state a claim for payment under
                      the medicaid program knowing that such claim is false or fraudulent;

              B.      presents, or causes to be presented, to the state a claim for payment under
                      the medicaid program knowing that the person receiving a medicaid
                      benefit or payment is not authorized or is not eligible for a benefit under
                      the medicaid program;

              C.      makes, uses or causes to be made or used a record or statement to obtain a
                      false or fraudulent claim under the medicaid program paid for or approved
                      by the state knowing such record or statement is false;

              D.      conspires to defraud the state by getting a claim allowed or paid under the
                      medicaid program knowing that such claim is false or fraudulent;

              E.      makes, uses or causes to be made or used a record or statement to conceal,
                      avoid or decrease an obligation to pay or transmit money or property to
                      the state, relative to the medicaid program, knowing that such record or
                      statement is false;

              F.      knowingly applies for and receives a benefit or payment on behalf of
                      another person, except pursuant to a lawful assignment of benefits, under
                      the medicaid program and converts that benefit or payment to his own
                      personal use;

              G.      knowingly makes a false statement or misrepresentation of material fact
                      concerning the conditions or operation of a health care facility in order

                                               41

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 42 of 56


                     that the facility may qualify for certification or recertification required by
                     the medicaid program; or

             H.      knowingly makes a claim under the medicaid program for a service or
                     product that was not provided.

    114.     Defendant knowingly presented or caused to be presented to the New Mexico

         Medicaid program false or fraudulent records or statements and false or fraudulent

         claims for payment and approval, claims which failed to disclose material violations

         of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

         transmit money to the state, and conspired to do so, all in violation of the New

         Mexico Statute § 27-14-4.

    115.     The State of New Mexico paid said claims and has sustained damages, to the

         extent of its portion of Medicaid losses from Medicaid claims filed in New Mexico,

         because of these acts by Defendant.

         COUNT TWENTY-TWO - VIOLATIONS OF THE NEW YORK FCA
                       N.Y. State Fin. Law § 189

    116.     Relator alleges and incorporates by reference the foregoing paragraphs as if fully

         set forth herein.

    117.     The New York FCA, provides, in relevant part, as follows:

    § 189. Liability for certain acts.

    1.       Subject to the provisions of subdivision two of this section, any person who:

             (a)     knowingly presents, or causes to be presented a false or fraudulent claim
                     for payment or approval;

             (b)     knowingly makes, uses, or causes to be made or used, a false record or
                     statement material to a false or fraudulent claim;

             (c)     conspires to commit a violation of paragraph (a), (b), (d), (e), (f) or (g) of
                     this subdivision;

                                               42

	
            Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 43 of 56



             (d)    has possession, custody, or control of property or money used, or to be
                    used, by the state or a local government and knowingly delivers, or causes
                    to be delivered, less than all of that money or property;

             (e)    is authorized to make or deliver a document certifying receipt of property
                    used, or to be used, by the state or a local government and, intending to
                    defraud the state or a local government, makes or delivers the receipt
                    without completely knowing that the information on the receipt is true;

             (f)    knowingly buys, or receives as a pledge of an obligation or debt, public
                    property from an officer or employee of the state or a local government
                    knowing that the officer or employee violates a provision of law when
                    selling or pledging such property; or

             (g)    knowingly makes, uses, or causes to be made or used, a false record or
                    statement material to an obligation to pay or transmit money or property to
                    the state or a local government shall be liable to the state or a local
                    government, as applicable, for a civil penalty of not less than six thousand
                    dollars and not more than twelve thousand dollars, plus three times the
                    amount of all damages, including consequential damages, which the state
                    or local government sustains because of the act of that person.

     118.    Defendant knowingly presented or caused to be presented to the New York

        Medicaid program false or fraudulent records or statements and false or fraudulent

        claims for payment and approval, claims which failed to disclose material violations

        of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

        transmit money to the state, and conspired with others to do so, all in violation of

        New York State Finance Law § 189.

     119.    The State of New York paid said claims and has sustained damages, to the extent

        of its portion of Medicaid losses from Medicaid claims filed in New York, because of

        these acts by Defendant.

    COUNT TWENTY-THREE - VIOLATIONS OF THE NORTH CAROLINA FCA
                      N.C. Gen. Stat. § 1-607(a)

     120.    Relator alleges and incorporates by reference the foregoing paragraphs as if fully

                                             43

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 44 of 56


          set forth herein.

    121.      The North Carolina FCA, N.C. Gen. Stat. § 1-607(a), attaches liability to:

    Any person who . . . :

    (1)       Knowingly presents or causes to be presented a false or fraudulent claim for
              payment or approval.

    (2)       Knowingly makes, uses, or causes to be made or used, a false record or statement
              material to a false or fraudulent claim.

    (3)       Conspires to commit a violation of subdivision (1), (2), (4), (5), (6), or (7) of this
              section.

    (4)       Has possession, custody, or control of property or money used or to be used by
              the State and knowingly delivers or causes to be delivered less than all of that
              money or property.

    (5)       Is authorized to make or deliver a document certifying receipt of property used or
              to be used by the State and, intending to defraud the State, makes or delivers the
              receipt without completely knowing that the information on the receipt is true.

    (6)       Knowingly buys, or receives as a pledge of an obligation or debt, public property
              from any officer or employee of the State who lawfully may not sell or pledge the
              property.

    (7)       Knowingly makes, uses, or causes to be made or used, a false record or statement
              material to an obligation to pay or transmit money or property to the State, or
              knowingly conceals or knowingly and improperly avoids or decreases an
              obligation to pay or transmit money or property to the State.

    122.      Defendant knowingly presented or caused to be presented to the North Carolina

          Medicaid program false or fraudulent records or statements and false or fraudulent

          claims for payment and approval, claims which failed to disclose material violations

          of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

          transmit money to the state, and conspired with others to do so, all in violation of the


                                                44

	
            Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 45 of 56


          North Carolina FCA.

     123.     The State of North Carolina paid said claims and has sustained damages, to the

          extent of its portion of Medicaid losses from Medicaid claims filed in North Carolina,

          because of these acts by Defendant.

    COUNT TWENTY-FOUR - VIOLATIONS OF OKLAHOMA MEDICAID FCA
                   Okla. Stat. Ann. tit. 63 § 5053.1(B)

     124.     Relator alleges and incorporates by reference the foregoing paragraphs as if fully

          set forth herein.

     125.     The Oklahoma Medicaid FCA, Okla. Sta. Ann. tit. 63 § 5053.1(B), added by

          Laws 2007, c.137 § 63-5053.1A. 2B, provides in part that:

     Any person who:

     1.       Knowingly presents, or causes to be presented, to an officer or employee of the
              State of Oklahoma, a false or fraudulent claim for payment or approval;

     2.       Knowingly makes, uses, or causes to be made or used, a false record or statement
              to get a false or fraudulent claim paid or approved by the state;

     3.       Conspires to defraud the state by getting a false or fraudulent claim allowed or
              paid;

     4.       Has possession, custody, or control of property or money used, or to be used, by
              the state and, intending to defraud the state or willfully to conceal the property,
              delivers, or causes to be delivered, less property than the amount for which the
              person receives a certificate or receipt;

     5.       Is authorized to make or deliver a document certifying receipt of property used, or
              to be used, by the state and, intending to defraud the state, makes or delivers the
              receipt without completely knowing that the information on the receipt is true;

     6.       Knowingly buys, or receives as a pledge of an obligation or debt, public property
              from an officer or employee of the state, who lawfully may not sell or pledge the
              property; or

     7.       Knowingly makes, uses, or causes to be made or used, a false record or statement
              to conceal, avoid, or decrease an obligation to pay or transmit money or property

                                                45

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 46 of 56


              to the state, is liable to the State of Oklahoma for a civil penalty of not less than
              Five Thousand Dollars ($5,000.00) and not more than Ten Thousand Dollars
              ($10,000.00), unless a penalty is imposed for the act of that person in violation of
              this subsection under the federal FCA for the same or a prior action, plus three
              times the amount of damages which the state sustains because of the act of that
              person.

    126.      Defendant knowingly presented or caused to be presented to the Oklahoma

          Medicaid program false or fraudulent records or statements and false or fraudulent

          claims for payment and approval, claims which failed to disclose material violations

          of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

          transmit money to the state, and conspired with others to do so, all in violation of the

          Oklahoma Medicaid FCA.

    127.      The State of Oklahoma paid said claims and has sustained damages, to the extent

          of its portion of Medicaid losses from Medicaid claims filed in Oklahoma, because of

          these acts by Defendant.


    COUNT TWENTY-FIVE - VIOLATIONS OF RHODE ISLAND STATE FCA
                     R.I. Gen. Laws § 9-1.1-3(a)
    128.      Relator alleges and incorporates by reference the foregoing paragraphs as if fully

          set forth herein.

    129.      The Rhode Island State FCA amending Title 9 of the Rhode Island general laws

          entitled “Courts and Civil Procedure/Procedure Generally,” ch. 9-1.1, § 9-1.1-3(a),

          provides, in part, that:

    Any person who:

    (1)       knowingly presents, or causes to be presented, to an officer or employee of the
              state or a member of the guard a false or fraudulent claim for payment or
              approval;

    (2)       knowingly makes, uses, or causes to be made or used, a false record or statement
                                             46

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 47 of 56


             to get a false or fraudulent claim paid or approved by the state;

    (3)      conspires to defraud the state by getting a false or fraudulent claim allowed or
             paid;

    (4)      has possession, custody, or control of property or money used, or to be used, by
             the state and, intending to defraud the state or willfully to conceal the property,
             delivers, or causes to be delivered, less property than the amount for which the
             person receives a certificate or receipt;

    (5)      authorized to make or deliver a document certifying receipt of property used, or to
             be used, by the state and, intending to defraud the state, makes or delivers the
             receipt without completely knowing that the information on the receipt is true;

    (6)      knowingly buys, or receives as a pledge of an obligation or debt, public property
             from an officer or employee of the state, or a member of the guard, who lawfully
             may not sell or pledge the property; or

    (7)      knowingly makes, uses, or causes to be made or used, a false record or statement
             to conceal, avoid or decrease an obligation to pay or transmit money or property
             to the state, is liable to the state for a civil penalty of not less than five thousand
             dollars ($5,000) and not more than ten thousand dollars ($10,000), plus three (3)
             times the amount of damages which the state sustains because of the act of that
             person. A person violating this subsection (a) shall also be liable to the state for
             the costs of a civil action brought to recover any such penalty or damages.

    130.     Defendant knowingly presented or caused to be presented to the Rhode Island

          Medicaid program false or fraudulent records or statements and false or fraudulent

          claims for payment and approval, claims which failed to disclose material violations

          of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

          transmit money to the state, and conspired with others to do so, all in violation of

          Rhode Island General Law § 9-1.1-3(a).

    131.     The State of Rhode Island paid said claims and has sustained damages, to the

          extent of its portion of Medicaid losses from Medicaid claims filed in Rhode Island,

          because of these acts by Defendant.



                                                47

	
              Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 48 of 56


    COUNT TWENTY-SIX - VIOLATIONS OF THE TENNESSEE MEDICAID FALSE
                                                                                                          Susan Burke 4/2/2017 2:01 PM
                              CLAIMS ACT
                                                                                                          Deleted: TENNESSEE
                     Tenn. Code Ann. § 71 – 5-182 et seq.                                                 Susan Burke 4/2/2017 2:01 PM
                                                                                                          Deleted: FCA
       132.      Relator alleges and incorporates by reference the foregoing paragraphs as if fully       Susan Burke 4/2/2017 2:03 PM
                                                                                                          Deleted: 4-18-103(a)
             set forth herein.

       133.      The Tennessee Medicaid False Claims Act prohibits the making of false claims.
                                                                                                          Susan Burke 4/2/2017 2:08 PM
                                                                                                          Formatted: Tabs: 1.5", Left + 2", Left +
       134.      The State of Tennessee paid said claims and has sustained damages, to the extent         2.5", Left + 3", Left + 3.5", Left + 4", Left
                                                                                                          + 4.5", Left
             of its portion of Medicaid losses from Medicaid claims filed in Tennessee, because of        Susan Burke 4/2/2017 2:08 PM
                                                                                                          Deleted: FCA, Tenn. Code Ann. § 4-18-103(a),
                                                                                                          specifically provides, in part, that any person who:
                                                                                                                                                           ... [1]
             these acts by Defendant.

                 COUNT TWENTY-SEVEN - VIOLATIONS OF TEXAS FCA
                        Tex. FCA Hum. Res. Code § 32.039(b), (c)

       135.      Relator alleges and incorporates by reference the foregoing paragraphs as if fully

             set forth herein.

       136.      The Texas FCA, Tex. Hum. Res. Code § 32.039, specifically provides, in part,

             that:

       (b)       A person commits a violation if the person:


       (1)       presents or causes to be presented to the department a claim that contains a
                 statement or representation the person knows or should know to be false;


                 (1-a) engages in conduct that violates Section 102.001, Occupations Code;

                 (1-b) solicits or receives, directly or indirectly, overtly or covertly any
                 remuneration, including any kickback, bribe, or rebate, in cash or in kind for
                 referring an individual to a person for the furnishing of, or for arranging the
                 furnishing of, any item or service for which payment may be made, in whole or in
                 part, under the medical assistance program, provided that this subdivision does
                 not prohibit the referral of a patient to another practitioner within a multispecialty
                 group or university medical services research and development plan (practice
                 plan) for medically necessary services;

                                                   48

	
          Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 49 of 56


           (1-c) solicits or receives, directly or indirectly, overtly or covertly any
           remuneration, including any kickback, bribe, or rebate, in cash or in kind for
           purchasing, leasing, or ordering, or arranging for or recommending the
           purchasing, leasing, or ordering of, any good, facility, service, or item for which
           payment may be made, in whole or in part, under the medical assistance program;

           (1-d) offers or pays, directly or indirectly, overtly or covertly any remuneration,
           including any kickback, bribe, or rebate, in cash or in kind to induce a person to
           refer an individual to another person for the furnishing of, or for arranging the
           furnishing of, any item or service for which payment may be made, in whole or in
           part, under the medical assistance program, provided that this subdivision does
           not prohibit the referral of a patient to another practitioner within a multispecialty
           group or university medical services research and development plan (practice
           plan) for medically necessary services;

           (1-e) offers or pays, directly or indirectly, overtly or covertly any remuneration,
           including any kickback, bribe, or rebate, in cash or in kind to induce a person to
           purchase, lease, or order, or arrange for or recommend the purchase, lease, or
           order of, any good, facility, service, or item for which payment may be made, in
           whole or in part, under the medical assistance program;

           (1-f) provides, offers, or receives an inducement in a manner or for a purpose not
           otherwise prohibited by this section or Section 102.001, Occupations Code, to or
           from a person, including a recipient, provider, employee or agent of a provider,
           third-party vendor, or public servant, for the purpose of influencing or being
           influenced in a decision regarding:

                  (A)     selection of a provider or receipt of a good or service under the
                          medical assistance program;

                  (B)     the use of goods or services provided under the medical assistance
                          program; or


                  (C)     the inclusion or exclusion of goods or services available under the
                          medical assistance program; or



    (2)    is a managed care organization that contracts with the department to provide or
           arrange to provide health care benefits or services to individuals eligible for
           medical assistance and:

                                             49

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 50 of 56


                   (A)    fails to provide to an individual a health care benefit or service that
                          the organization is required to provide under the contract with the
                          department;

                   (B)    fails to provide to the department information required to be
                          provided by law, department rule, or contractual provision;

                   (C)    engages in a fraudulent activity in connection with the enrollment
                          in the organization's managed care plan of an individual eligible
                          for medical assistance or in connection with marketing the
                          organization’s services to an individual eligible for medical
                          assistance; or

                   (D)    engages in actions that indicate a pattern of:

                          (i)     wrongful denial of payment for a health care benefit or
                                  service that the organization is required to provide under
                                  the contract with the department; or

                          (ii)    wrongful delay of at least 45 days or a longer period
                                  specified in the contract with the department, not to exceed
                                  60 days, in making payment for a health care benefit or
                                  service that the organization is required to provide under
                                  the contract with the department.

    (c)     A person who commits a violation under Subsection (b) is liable to the
            department for:

    (1)     the amount paid, if any, as a result of the violation and interest on that amount
            determined at the rate provided by law for legal judgments and accruing from the
            date on which the payment was made; and

    (2)     payment of an administrative penalty of an amount not to exceed twice the
            amount paid, if any, as a result of the violation, plus an amount:

            (A)    not less than $ 5,000 or more than $ 15,000 for each violation that results
                   in injury to an elderly person, as defined by Section 48.002(1), a disabled
                   person, as defined by Section 48.002(8)(A), or a person younger than 18
                   years of age; or

            (B)    not more than $ 10,000 for each violation that does not result in injury to a
                   person described by Paragraph (A).

    137.    Defendant knowingly presented or caused to be presented to the Texas Medicaid
                                          50

	
              Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 51 of 56


            program false or fraudulent records or statements and false or fraudulent claims for

            payment and approval, claims which failed to disclose material violations of law,

            and/or concealed their actions and to avoid or decrease an obligation to pay or

            transmit money to the state, and conspired with others to do so, all in violation of

            Texas FCA Human Resources Code § 32.039(b), (c).

       138.     The State of Texas paid said claims and has sustained damages, to the extent of its

            portion of Medicaid losses from Medicaid claims filed in Texas, because of these acts

            by Defendant.

    COUNT TWENTY- EIGHT- VIOLATIONS OF THE VIRGINIA FRAUD AGAINST
                            TAXPAYERS ACT
                       Va. Code Ann. § 8.01-216.3(A)

       139.     Relator alleges and incorporates by reference the foregoing paragraphs as if fully

            set forth herein.

       140.     The Virginia Fraud Against Taxpayers Act, Va. Code Ann. § 8.01-216.3(A),

            specifically provides, in part, that:

       Any person who:


       1.       Knowingly presents, or causes to be presented, to an officer or employee of the
                Commonwealth a false or fraudulent claim for payment or approval;

       2.       Knowingly makes, uses, or causes to be made or used, a false record or statement
                to get a false or fraudulent claim paid or approved by the Commonwealth;

       3.       Conspires to defraud the Commonwealth by getting a false or fraudulent claim
                allowed or paid;



       4.       Has possession, custody, or control of property or money used, or to be used, by
                the Commonwealth and, intending to defraud the Commonwealth or willfully to


                                                    51

	
           Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 52 of 56


            conceal the property, delivers, or causes to be delivered, less property than the
            amount for which the person receives a certificate or receipt;

    5.      Authorizes to make or deliver a document certifying receipt of property used, or
            to be used, by the Commonwealth and, intending to defraud the Commonwealth,
            makes or delivers the receipt without completely knowing that the information on
            the receipt is true;

    6.      Knowingly buys or receives as a pledge of an obligation or debt, public property
            from an officer or employee of the Commonwealth who lawfully may not sell or
            pledge the property; or

    7.      Knowingly makes, uses, or causes to be made or used, a false record or statement
            to conceal, avoid, or decrease an obligation to pay or transmit money or property
            to the Commonwealth;

    shall be liable to the Commonwealth for a civil penalty of not less than $ 5,500 and not
    more than $ 11,000, plus three times the amount of damages sustained by the
    Commonwealth.

    141.    Defendant knowingly presented or caused to be presented to the Virginia

         Medicaid program false or fraudulent records or statements and false or fraudulent

         claims for payment and approval, claims which failed to disclose material violations

         of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

         transmit money to the state, and conspired with others to do so, all in violation of

         Virginia Code § 8.01-216.3(A).

    142.    The Commonwealth of Virginia paid said claims and has sustained damages, to

         the extent of its portion of Medicaid losses from Medicaid claims filed in Virginia,

         because of these acts by Defendant.




                                               52

	
             Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 53 of 56


    COUNT TWENTY-NINE - VIOLATIONS OF THE WISCONSIN FALSE CLAIMS
                   FOR MEDICAL ASSISTANCE LAW
                         Wis. Stat. Ann. § 20.931(2)


      143.      Relator alleges and incorporates by reference the foregoing paragraphs as if fully

            set forth herein.

      144.      The Wisconsin False Claims for Medical Assistance Law, added by 2007

            Wisconsin Act 20, Wis. Stat. Ann. 20.931(2), provides, in part, that:

      any person who does any of the following is liable to this state for 3 times the amount of
      the damages sustained by this state because of the actions of the person, and shall forfeit
      not less than $5,000 nor more than $10,000 for each violation:

      (a)       Knowingly presents or causes to be presented to any officer, employee, or agent
                of this state a false claim for medical assistance.

      (b)       Knowingly makes, uses, or causes to be made or used a false record or statement
                to obtain approval or payment of a false claim for medical assistance.

      (c)       Conspires to defraud this state by obtaining allowance or payment of a false claim
                for medical assistance, or by knowingly making or using, or causing to be made
                or used, a false record or statement to conceal, avoid, or decrease an obligation to
                pay or transmit money or property to the Medical Assistance program.

      (g)       Knowingly makes, uses, or causes to be made or used a false record or statement
                to conceal, avoid, or decrease any obligation to pay or transmit money or property
                to the Medical Assistance program.

      (h)       Is a beneficiary of the submission of a false claim for medical assistance to any
                officer, employee, or agent of this state, knows that the claim is false, and fails to
                disclose the false claim to this state within a reasonable time after the person
                becomes aware that the claim is false.

      145.      Defendant knowingly presented or caused to be presented to the Wisconsin

            Medicaid program false or fraudulent records or statements and false or fraudulent

            claims for payment and approval, claims which failed to disclose material violations

            of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

            transmit money to the state, and conspired with others to do so, all in violation of
                                                53

	
               Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 54 of 56


              Wisconsin Statute § 20.931(2).

       146.      The State of Wisconsin paid said claims and has sustained damages, to the extent

              of its portion of Medicaid losses from Medicaid claims filed in Wisconsin, because of

              these acts by Defendant.

                                     PRAYERS FOR RELIEF

       WHEREFORE, Relator, acting on behalf of and in the name of the United States of

America and the State Plaintiffs, demands and prays that judgment be entered as follows against

Defendant under the Federal FCA counts and under the State FCA counts as follows:

       (a)       In favor of the United States against Defendant for treble the amount of damages

                 paid by the United States as a result of Defendant’s conduct in causing the

                 submission of false claims tainted by the payment of staffing kickback, plus

                 maximum civil penalties of Eleven Thousand Dollars ($11,000.00) for each

                 violation of the FCA;


       (b)       In favor of the United States against Defendant for disgorgement of the profits

                 earned by Defendant as a result of its illegal schemes;


       (c)        In favor of Relator for the maximum amount allowed pursuant to 31 U.S.C.

                 § 3730(d) to include reasonable expenses, attorney fees, and costs incurred by

                 Relator;


       (d)        For all costs of the Federal FCA civil action;


        (f)      In favor of Relator and the named State Plaintiffs against Defendant in an amount

                 equal to three times the amount of damages that California, Colorado,


                                                  54

	
          Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 55 of 56


           Connecticut, Delaware, District of Columbia, Florida, Georgia, Hawaii, Illinois,

           Iowa, Indiana, Louisiana, Maryland, Massachusetts, Minnesota, Nevada, New

           Jersey, New Mexico, New York, North Carolina, Oklahoma, Rhode Island,

           Tennessee, Virginia, and Wisconsin have sustained, respectively, as a result of

           Defendant’ actions, as well as a civil penalty against Defendant of a statutory

           maximum for each violation of each State’s FCA;


    (g)    In favor of Relator and the Plaintiff State of Michigan against Defendant for a

           civil penalty equal to one time the loss caused to the Michigan Medicaid program

           as a result of Defendant’ actions, plus damages equal to three times such loss;


    (h)    In favor of Relator and the Plaintiff State of Texas against Defendant in an

           amount equal to two times the amount of damages that Texas has sustained as a

           result of Defendant’ actions;

    (i)    In favor of Relator for the maximum amount as a relator’s share allowed pursuant

           to each State Plaintiff ’s FCA;

    (j)    In favor of Relator for all costs and expenses associated with the supplemental

           state claims, including attorney’s fees and costs;

    (k)    In favor of the State Plaintiffs and Relator for all such other relief as the Court

           deems just and proper; and


    (m)    Such other relief as this Court deems just and appropriate.


                                JURY DEMAND




                                             55

	
                 Case 5:15-cv-06264-EGS Document 16-2 Filed 04/02/17 Page 56 of 56


        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Relators hereby demand a

trial by jury.



                                                    _Susan L. Burke ________________
                                                    Susan L. Burke                              Susan Burke 4/2/2017 2:11 PM
                                                                                                Formatted: Font:Italic
                                                    Law Offices of Susan L. Burke
                                                                                                Susan Burke 4/2/2017 2:11 PM
                                                    1611 Park Avenue
                                                                                                Deleted: _____________
                                                    Baltimore, MD 21217
                                                    Telephone: (410) 544-7333
                                                    Facsimile: (410) 544-7333
                                                    sburke@burkepllc.com

April 2, 2017
                                                                                                Susan Burke 4/2/2017 2:10 PM
                                                                                                Deleted: November 18, 2015




                                               56

	
